                       Case 1:21-cr-00203-JDB Document 1 Filed 02/22/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
                                                                     )      Case No.
                   Alexander Sheppard
                                                                     )
                    DOB: XXXXXX                                      )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                               in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

            Code Section                                                      Offense Description
        18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds
        Without Lawful Authority,
        18 U.S.C. § 1752(a)(2)- Disorderly Conduct Which Impedes the Conduct of Government Business,
        40 U.S.C. § 5104(e)(2)(D) - Violent Entry and Disorderly Conduct on Capitol Ground,
        40 U.S.C. § 5104(e)(2)(G)- Parading, Demonstrating, or Picketing in the Capitol Buildings,
        18 U.S.C. § 1512(c)(2) - Obstruction of Justice/Congress.
         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                       Jason Grassie, Special Agent
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH                                                                                              Robin M. Meriweather
                                                                                                           2021.02.22 11:42:14
Date:             02/22/2021                                                                               -05'00'
                                                                                                  Judge’s signature

City and state:                         :DVKLQJWRQ'&                          Robin
                                                                                    _ M. Meriweather, U.S. Magistrate
                                                                                                                  _ Judge
                                                                                               Printed name and title
